Case 1:18-cv-00425-JJM-PAS Document 1 Filed 08/02/18 Page 1 of 3 PageID #: 1



                            UNITED STATES DISTRICT OURT
                          FOR THE DISTRICT OF RHODE ISLAND

MICHELLE BROWN and
FRANK DINIS

       V.                                           C.A. NO.: 1:18-425

UNITED STATES OF AMERICA

                                         COMPLAINT

       The Plaintiffs, Frank Dinis and Michelle Brown, sue the Defendant, UNITED STATES

OF AMERICA (hereinafter “U.S.A.”), and allege:

                               PARTIES AND JURISDICTION

       1.      Plaintiffs, Frank Dinis and Michelle Brown are residences of the City of Central

Falls, County of Providence and State of Rhode Island.

       2.      This Court has jurisdiction under the Federal Tort Claims Act and the provisions

of 28 U.S.C. §1346(b).

       3.      Pursuant to the provisions of 28 U.S.C. §2675, on or about October 20, 2016, the

Plaintiff, Frank Dinis, provided written notice to the Defendant, U.S.A., of his claims for money

damages. The Standard Form 95 form for the Plaintiff, Michelle Brown, is attached hereto and

incorporated by reference herein respectively as Exhibit “A”.

       4.      Pursuant to the provisions of 28 U.S.C. §2675, on or about December 6, 2016, the

Plaintiff, Michelle Brown, provided written notice to the Defendant, U.S.A., of her claims for

money damages. The Standard Form 95 form for the Plaintiff, Michelle Brown, is attached

hereto and incorporated by reference herein respectively as Exhibit “B”.

       5.      A period of more than six months has transpired since the notice was given to the

U.S.A. The Defendant has not made a final disposition of the claims. Accordingly, under 28



                                                1
Case 1:18-cv-00425-JJM-PAS Document 1 Filed 08/02/18 Page 2 of 3 PageID #: 2



U.S.C. §2675(a), the failure of the Defendant to make a final disposition constitutes a denial of

the Plaintiffs’ claims.

        6.      At all times material hereto Donovan Andrade was an employee of and acting in

the course and scope of his employment with the United States Postal Service, an agency or

subdivision of the U.S.A.

        7.      On September 1, 2015, Donovan Andrade, operated a motor vehicle owned by

and with the permission of the United States Postal Service on River Road in the Town of

Lincoln, Rhode Island.

        8.      On September 1, 2015, Plaintiffs Frank Dinis and Michelle Brown, occupied a

motorcycle as operator and passenger respectively as it traveled on River Road in the Town of

Lincoln, Rhode Island.

        9.      At that time and place, Donovan Andrade, negligently operated the motor vehicle

in that he made a U-turn on River Road and failed to observe the Plaintiffs and turned his vehicle

into the path of the Plaintiffs.

                                            COUNT I

        1-9.    Paragraphs 1-9 of Plaintiffs’ Complaint are hereby realleged by reference and

made Paragraphs 1-9 of Count I of Plaintiffs’ Complaint.

        10.     As a result of the negligence of the Defendant’s agent or servant, Donovan

Andrade, Plaintiff, Frank Dinis, suffered bodily injuries resulting in pain and suffering,

disability, disfigurement, mental anguish, loss of enjoyment of life, incurred costs for medical

care, lost wages or suffered a loss of earning capacity. These damages are continuing and

permanent.




                                                 2
Case 1:18-cv-00425-JJM-PAS Document 1 Filed 08/02/18 Page 3 of 3 PageID #: 3



       WHEREFORE, the Plaintiff, Frank Dinis demands judgment for damages, costs of suit

and, to the extent allowed by law, interest and costs.

                                            COUNT II

       1-10. Paragraphs 1-10 of Count I of Plaintiffs’ Complaint are hereby realleged by

reference and made Paragraphs 1-10 of Count II of Plaintiffs’ Complaint.

       11.     As a result of the negligence of the Defendant’s agent or servant, Donovan

Andrade, Plaintiff, Michelle Brown, suffered bodily injuries resulting in pain and suffering,

disability, disfigurement, mental anguish, loss of enjoyment of life, incurred costs for medical

care, lost wages or suffered a loss of earning capacity. These damages are continuing and

permanent.

       WHEREFORE, the Plaintiff, Michelle Brown, demands judgment for damages, costs of

suit and, to the extent allowed by law, interest and costs.


                                               Plaintiffs,
                                               By Their Attorney,

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